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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

THE UNITED STATES OF AMERICA,                       )
                                                    )
       Plaintiff,                                   )
v.                                                  )       4:19cr148-3
                                                    )
MELVIN FORD,                                        )
                                                    )
      Defendant.                                    )


                                           ORDER


       Counsel in the above-captioned case have advised the Court that all pretrial motions have

been complied with and/or that all matters raised in the parties’ motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.

       IT IS ORDERED that all motions filed on behalf of the defendant, Melvin Ford, are

DISMISSED.

       SO ORDERED, this WK day of February 2020.




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                                               _      __________________
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                                             CHRISTOPHER
                                             CHRISTOPHPH E L. RAY
                                                       HER
                                             UNITED STATES MAGISTRATE JUDGE
                                                                          JU
                                             SOUTHERN DISTRICT OF GEORGIA
